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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:20-CR-00093-NONE-SKO
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          FINDINGS AND ORDER
14   JOSE AVALOS-CASTRO,                                DATE: November 18, 2020
                                                        TIME: 1:00 p.m.
15                               Defendant.             COURT: Hon. Sheila K. Oberto
16

17          This case was previously set for a status conference on November 16, 2020. The date was

18 moved to November 18, 2020 by order of this Court. This Court has issued a series of General Orders to

19 address public health concerns related to COVID-19 and to suspend jury trials in the Eastern District of

20 California. By stipulation, the parties now move to continue the status conference to March 3, 2021, and
21 to exclude time between November 16, 2020 and March 3, 2020.

22          Although the General Orders address the district-wide health concern, the Supreme Court has

23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at
27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.
10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
21 justice exception, § 3161(h)(7) (Local Code T4).1 If continued, this Court should designate a new date

22 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

23 pretrial continuance must be “specifically limited in time”).

24                                                 STIPULATION

25          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

26 through defendant’s counsel of record, hereby stipulate as follows:
27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1         1.     By previous order, this matter was set for status on November 16, 2020. It was then

 2 continued to November 18, 2020 by order of the Court.

 3         2.     By this stipulation, defendant now moves to continue the status conference until March 3,

 4 2021, and to exclude time between November 16, 2020, and March 3, 2021, under Local Code T4.

 5         3.     The parties agree and stipulate, and request that the Court find the following:

 6                a)      The government has represented that discovery associated with this case includes

 7         investigative reports, numerous photographs and videos, hundreds of hours of recorded

 8         telephone conversations pursuant to wiretap order, cellular phone extractions, and large amounts

 9         of cellular telephone precise location data. This discovery has been either produced directly to

10         counsel and/or made available for inspection and copying. Additionally, the government

11         anticipates providing additional discovery in the coming months.

12                b)      Counsel for defendant desires additional time consult with their clients, conduct

13         further investigation, review the voluminous discovery, prepare for a possible trial, and to

14         continue to explore a potential resolution of the case.

15                c)      Counsel for defendant believes that failure to grant the above-requested

16         continuance would deny him/her the reasonable time necessary for effective preparation, taking

17         into account the exercise of due diligence.

18                d)      The government does not object to the continuance.

19                e)      Based on the above-stated findings, the ends of justice served by continuing the

20         case as requested outweigh the interest of the public and the defendant in a trial within the

21         original date prescribed by the Speedy Trial Act.

22                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

23         et seq., within which trial must commence, the time period of November 16, 2020 to March 3,

24         2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(ii), (iv) [Local

25         Code T4] because it results from a continuance granted by the Court at defendant’s request on

26         the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

27         best interest of the public and the defendant in a speedy trial.

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 1            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4            IT IS SO STIPULATED.

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 6
      Dated: November 9, 2020                                   MCGREGOR W. SCOTT
 7                                                              United States Attorney
 8
                                                                /s/ KATHERINE E. SCHUH
 9                                                              KATHERINE E. SCHUH
                                                                Assistant United States Attorney
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11
      Dated: November 9, 2020                                   /s/ Emily Harue Takao
12                                                              Emily Harue Takao
13                                                              Counsel for Defendant
                                                                Jose Avalos-Castro
14

15
                                              FINDINGS AND ORDER
16

17 IT IS SO ORDERED.

18
     Dated:        November 10, 2020                                 /s/   Sheila K. Oberto             .
19                                                       UNITED STATES MAGISTRATE JUDGE

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